Case 2:03-cV-02061-BBD-STA Document 86 Filed 04/27/05 Page 1 of 3 Page|D 128

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IN THE UNITED sTATEs DlsrRicr COURTQS aaa 27 PM 3: he
FoR THE WESTERN DISTRICT oF TENNES sEE

 

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f ` i"lw't ?'!-F.¥'-»~’.PI~HS
UNITED STATES OF AMERICA,
Plaintift`, Case No.: 03-2061 D

V.
CENTURY MANAGEMENT, et al.,

Defendants.

 

ORDER

 

On December 30, 2004, the Court entered an order striking Plaintiff’ s motion to compel and
to strike without prejudice based on the fact the parties were in settlement negotiations To date, the
parties have not reported to the court the status of this matter. Accordingly, the parties are hereby
ordered to submit a joint case status report on or before May 25 , 2005, and to show cause why this

matter should not be placed on the trial docket.

IT Is so oRDERED this 92 § "" day of Q¢M ,2005.

B cE BoUrE DONALD '
UNITED s'rArEs DISTRICT JUDGE

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ESSEE

 

Ralph F. Boyd

U.S. DEPARTl\/[ENT OF .TUSTICE
P.O. Box 66400

Washington, DC 20035--640

Thornas L. Henderson

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Melissa Kimberly Hodges

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Mark L. Shapiro

HOLLAND & KNIGHT LLC
131 S. Dearborn St.

Ste. 3000

Chicago, IL 60603

Harriett 1\/1. Halrnon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

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Alexandra S. Gruber

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Keith D. Frazier

OGLETREE DEAKINS NASH SMOAK & STEWART
424 Church St.

Ste. 800

Nashville, TN 37219

Honorable Bernice Donald
US DISTRICT COURT

